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          IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                 8:08CR194
                              )
          v.                  )
                              )
PERCY E. GRANT,               )                       ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court on the motion of Joseph

L. Howard for leave to withdraw as counsel for the defendant

(Filing No. 84), and the motion for extension of time for filing

sentencing briefs (Filing No. 85).         The Court finds the motions

should be granted.      Accordingly,

          IT IS ORDERED:

          1) The motion of Joseph L. Howard for leave to withdraw

as counsel for the defendant is granted; defendant shall retain

other counsel and counsel shall enter an appearance on or before

December 22, 2008.

          2) The motion for extension of time for filing

sentencing briefs is granted; said briefs shall be filed on or

before January 9, 2009.
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          3) Sentencing in this matter is rescheduled for:

                Friday, January 16, 2009, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 25th day of November, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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